                                      EVIDENCE OF TRANSFER OF CLAIM


                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE



   In re:                                                                  Chapter 11

   FTX TRADING LTD., et al.                                                Case No. 22-11068 (JTD)

                                Debtors.                                   (Jointly Administered)


                           TRANSFER OF CLAIM OTHER THAN FOR SECURITY

        A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of
Bankruptcy Procedure of the transfer, other than for security, of the claims referenced in this evidence and
notice.

 DCP Master Investments XIV LLC                                      Invictus Capital Financial Technologies SPC on
                                                                     behalf of its Stable Growth SP
 Name of Transferee                                                  Name of Transferor
 Phone: 212-655-1419                                                 Phone: + 1 345 324 2022
 Last Four Digits of Acct #: N/A                                     Last Four Digits of Acct #: N/A

 Name and Address where notices and payments to                      Claim No: 1372
 transferee should be sent:

 DCP Master Investments XIV LLC                                      Date Filed: March 27, 2023
 55 Hudson Yards, Suite 29B
 New York, NY 10001                                                  Total Amount of Claim: $604,551.04
 Email: srao@diametercap.com                                         Transferred Amount of Claim: $604,551.04
 Phone: 212-655-1419


I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.



By: _____________________                                                     Date: April 14, 2023
Transferee/Transferee's Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 &
3571.




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105309426v2
                                  EVIDENCE OF TRANSFER OF CLAIM


TO:              United States Bankruptcy Court for the District of Delaware
                 Attn: Clerk

AND TO:          FTX TRADING LTD., as debtor (“Debtor")
                 Case No. 22-11068 (JTD) (Jointly Administered)

Invictus Capital Financial Technologies SPC on behalf of its Stable Growth SP ("Seller"), for good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, and pursuant to the
terms of an Assignment of Claim Agreement dated as of April 11, 2023, does hereby certify that it has
unconditionally and irrevocably sold, transferred and assigned to:

                                   DCP Master Investments XIV LLC
                                   55 Hudson Yards, Suite 29B
                                   New York, NY 10001
                                   Email: srao@diametercap.com
                                   Phone: 212-655-1419
                                   Attn: General Counsel

its successors and assigns ("Buyer"), all right, title and interest in and to the claims of Seller on the aggregate
amount of $604,551.04 against the Debtor, docketed as Claim No. 1372 (collectively the "Claim") in the
United States Bankruptcy Court for the District of Delaware.

Seller hereby waives any objection to the transfer of the claims to Buyer on the books and records of the
Debtor and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any notice or
right to a hearing as may be imposed by Rule 3001 of the Federal Rules of Bankruptcy Procedure, the
Bankruptcy Code, applicable local bankruptcy rules or applicable law. Seller acknowledges, understands
and agrees, and hereby stipulates that an order of the Bankruptcy Court may be entered without further
notice to Seller transferring to Buyer the Claim and recognizing Buyer as the sole owner and holder of the
Claim.

Buyer does not assume and shall not be responsible for any obligations of liabilities of Seller related to or
in connection with the Claim or the Bankruptcy Case. You are hereby directed to make all future payments
and distributions free and clear of all setoffs and deductions, and to give all notices and other
communications, in respect of the Claim to Buyer.


                                            [signature page follows]




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IN WITNESS WHEREOF, Seller and Buyer have executed this Evidence of Transfer of Claim as of April
14, 2023.


                                            SELLER:


                                            Invictus Capital Financial Technologies SPC on behalf
                                            of its Stable Growth SP




                                            By:
                                                    Name: Casey McDonald
                                                    Title: Director



                                            BUYER


                                            DCP Master Investments XIV LLC


                                            By: Diameter Capital Partners LP, solely as its manager




                                            By:
                                                    Name: Shailini Rao
                                                    Title: General Counsel & CCO




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